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 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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 Acting United States Attorney
 DAVID M. HARRIS
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 JOLENE TANNER
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    Party appearing without an attorney
    Attorney for Party: United States Department of
 Education

                                            UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION

 In re: JAVIER P. FERNANDEZ                                                    CASE NO.: 9:24-bk-10496-RC

                                                               Debtor(s)       CHAPTER: 7
                                                                               ADV. PROC.NO: 9:24-ap-01034-RC

 JAVIER P. FERNANDEZ,
                                                                                       STIPULATION TO EXTEND DATES
                                                                                      AND DEADLINES PURSUANT TO THIS
                                                              Plaintiff(s)
 v.                                                                                 COURT’S STUDENT LOAN AP GUIDELINES

 UNITED STATES DEPARTMENT OF EDUCATION,
                                                                                                              No hearing

                                                           Defendant(s)

1. The debtor/plaintiff commenced this adversary proceeding by filing a complaint 9/13/24 (insert date) in which Plaintiff
   seeks a declaratory judgment that student loans owed to the United States Department of Education are
   dischargeable under 11 U.S.C. § 523(a)(8).

2.    On November 17, 2022, the United States Department of Justice (“DOJ”), in coordination with DOE, promulgated
      guidance with respect to proceedings brought pursuant to 11 U.S.C. § 523(a)(8) (the “DOJ Guidance”).

3.    In order to accommodate the DOJ Guidance and the processes contemplated thereby, the parties stipulate
      and agree as follows, pursuant to this Court’s Student Loan AP Guidelines:

      a. The DOJ Guidance currently applies to this adversary proceeding; and
      b. This action constitutes one in which this court may enter final orders and judgment, and the parties consent to this
            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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            court’s exercise of jurisdiction and entry of final orders or judgment.

4. The deadline by which DOE must answer or otherwise respond to Plaintiff’s complaint is extended by 120 days. The
   new response deadline is: N/A (Answer filed on 10/17/24).

5. The status conference set for 3/12/25 (insert date and time) is continued to May 21, 2025 (insert date and time).

6. The parties shall calculate the deadlines set forth in Civil Rules 26(a)(1)(C) (exchange initial disclosures), 26(f)(1)
   (conduct discovery conference), and 26(f)(2) (file discovery plan), which apply in this proceeding pursuant to
   Bankruptcy Rule 7026, from the date of the continued status conference.1

7. The need to afford the parties time to comply with the Guidance constitutes good cause for delaying the issuance of a
   scheduling order beyond the deadline set forth in Civil Rule 16(b)(2), which applies in this proceeding pursuant to
   Bankruptcy Rule 7016.

8. The parties respectfully request that the foregoing stipulation be approved and made an order of this court.




IT IS SO STIPULATED.



Date:                                                                                                                                         .
                                                                         Signature of Plaintiff or attorney for Plaintiff

                                                                         Javier P. Fernandez                                              .
                                                                         Printed name of Plaintiff or attorney for Plaintiff



Date:       02/25/2025                                                     /s/ Najah J. Shariff                                               .
                                                                         Signature of Attorney for DOE
                                                                         Assistant U.S. Attorney
                                                                         Counsel for U.S. Department of Education

                                                                                                                                              .
                                                                         Signature of Attorney for DOE
                                                                         Assistant U.S. Attorney
                                                                         Counsel for U.S. Department of Education




1
 “Civil Rule” refers to one of the Federal Rules of Civil Procedure, and “Bankruptcy Rule” refers to one of the Federal Rules of
Bankruptcy Procedure.

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5. The status conference setfor 3/12/25 (insert date and time) is continued to May 21, 2025 (insert date and time).

6. The parties shall calculate the deadlines set forth in Civil Rules 26(a)(1 )(C) (exchange initial disclosures), 26(f)(1)
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    scheduling order beyond the deadline set forth in Civil Rule 16(b)(2), which applies in this proceeding pursuant to
    Bankruptcy Rule 7016.

8. The parties respectfully request that the foregoing stipulation be approved and made an order of this court.




IT IS SO STIPULATED.




                                                                          Javier P. Fernandez
                                                                          Printed name of Plaintiff or attorney for Plaintiff



Date:
        -----
                                                                          Signature of Attorney for DOE
                                                                          Assistant U.S. Attorney
                                                                          Counsel for U.S. Department of Education


                                                                          Signature of Attorney for DOE
                                                                          Assistant U.S. Attorney
                                                                          Counsel for U.S. Department of Education




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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

300 N. Los Angeles, #7211
Los Angeles, CA 90012

A true and correct copy of the foregoing document entitled: STIPULATION TO EXTEND DATES AND DEADLINES
PURSUANT TO THIS COURT’S STUDENT LOAN GUIDELINES will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
02/25/2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

           Jeremy W. Faith (TR) Trustee@MarguliesFaithlaw.com, C118@ecfcbis.com;leedowding@gmail.com
           Elan S Levey elan.levey@usdoj.gov, julie.morales@usdoj.gov
           Najah J Shariff najah.shariff@usdoj.gov, caseview.ecf@usdoj.gov;usacac.tax@usdoj.gov
           United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov

                                                                                              Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 02/25/2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Javier P Fernandez
PO BOX 1267
Simi Valley, CA 93062

                                                                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                              Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 02/25/2025            Barbara Le                                                        /s/ Barbara Le
 Date                          Printed Name                                                     Signature




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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